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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TEXAS
                              TYLER DIVISION

  Blue Spike, LLC,                              §
                                                §
         Plaintiff,                             §      CASE NO. 6:12-cv-499 MHS
                                                §
  v.                                            §                LEAD CASE
                                                §
  Texas Instruments, Inc., et al.,              §           Jury Trial Demanded
                                                §
         Defendants.                            §
                                                §
                                                §
                                                §
  Blue Spike, LLC,                              §     CASE NO. 6:12-CV-534 MHS
                                                §
         Plaintiff,                             §        CONSOLIDATED CASE
                                                §
  v.                                            §           Jury Trial Demanded
                                                §
  Vercury, Inc.,                                §
                                                §
         Defendant.                             §
                                                §



       ORDER OF DISMISSAL WITHOUT PREJUDICE OF VERCURY, INC.

         Pursuant to Fed. R. Civ. P. 41(a), recognizing the Agreed Motion to Dismiss filed

  by Plaintiff Blue Spike, LLC and Defendant Vercury, Inc. pursuant to a settlement of the

  above-captioned litigation between the parties, it is ordered as follows:

         ORDERED that the claims asserted herein by Plaintiff Blue Spike, LLC against

  Defendant Vercury, Inc. be, and hereby are, dismissed without prejudice.

         ORDERED that the counterclaims and defenses asserted herein by Defendant

  Vercury, Inc. against Plaintiff Blue Spike, LLC be, and hereby are, dismissed without

  prejudice; and

         ORDERED that the parties shall bear their own attorney’s fees, expenses and
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  costs.

  It is SO ORDERED.

  SIGNED this 6th day of March, 2014.




                                        ____________________________________
                                        MICHAEL H. SCHNEIDER
                                        UNITED STATES DISTRICT JUDGE
